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                              -       .       .       -   '


                       UNITED.STATESDISTRICTCOURT
                    FOR THE MIDDLE DISTRICT O F $ ! ~ D
                            NORTHERN DIVISION       -
                                                          · · znzz APR I 9 p 4: 13 -
   REV. PAUL A. EKNES-TUCKER;                                 DE:B.Rt~ P. HACf<ET"f, CLK
 - BRIANNA BOE, individually and on-behalf                     ~:S. D!STl'\ICT COURT
 _of her minor son, MICHAEL BOE; JAMES                    - i/ilDDLE DISTRICT P.,LA -
-- ZOE, individually and on behalf of his minor
   son, ZACHARY ZOE; MEGAN POE,
 _individually arid on behalf of her minor                       Civil Action No.
   daughter, ALLISON POE; KATHY NOE, - -                         2:22-cv-184-RAH-SRW
   individually and on behalf of her minor son,_-
   CHRISTOPHER NOE; JANE MOE, Ph.D;;                               COMPLAINT FOR
   and RACHEL KOE, M.D.                                            DECLARATORY AND
                                                              -_ - INJUNCTIVE RELIEF-_
                                                                                   .       .

          P laintif.fs,

 V.

   KAY IVEY, in_ her official capacity as
   Governor of the State of Alabama; STEVE
 · MARSHALL, in his official capacity as ·
   Attorney General of the State·of Alabama;
   DARYL D. BAILEY,_ in his official capacity ._
   as District Attorney for Montgomery County; _
 - C. WILSON BAYLOCK, iri his official
   capacity as DistrictAttorney for Cullman . -
      .     .                     .       .       -

   County; JESSICA VENTIERE, in her official
   capacity as District Attorney for Lee Courtty;
   TOM ANDERSON, in his official capacity as
   District Attorney for the 12th Judicial Circuit; _-·
   and DANNY CARR; in his official capacity -- ·
· as District Attorney for Jefferson County. ·

          Defendants~ -
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                                                                                                                                 ·. · - COMPLAINT -· -_.

                                   Reverend Paul A: Eknes~Tucker; Brianna Boe, individually and ori behalf of
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                 ·. her minor son~ Michael Boe; Jaines Zoe, individually and on behalf ofhis:minor son,
                                                                                                                   .                                             -                                                            -                                                                                                                                  .

                 _Zachary Zoe; Megan Poe, individually and ·oh behalf of her minor daughter, Allison

                      Poe~ KathYNoe, individually and on behalfofherminorsort, ChristopherNoe; Jane . . -.·
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                 · Moe, Ph.D:; and Rachel Koe, M.D. (collectively/'Plaintiffs''), bring this Action fot

                  -Declaratory and. Injunctive
                                     .   .  .
                                               Relief against
                                                         .
                                                              Defendants
                                                                   . .   Kay Ivey, in her official
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                 . _·•capacity as Governor ofthe State.of Alabama;·Steve Marshall, in.his official capacity -
                          .                             .    .                        .    .                                             .                   .                                                                                   .
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                      as AttorneyGeneralof the State of Alabam~; Daryl D. Bailey; in his official capacity

                      as District Attorney· for Montgomery County; .C~. Wilson Baylock, in his official _
                                                                 .        .                .                                                                                          .                   .                   .                                                                           .            .                                         .
                      capacity as District Attorney for Cullman. County; Jessica -Ventiere, in her official .·
                                                                                                                                                                                          .               .                                           .           '               -                           ..               .                                                     .

                      capacity as District Attorney for Lee County; Tom Anderson,· in his official capacity_ ·
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                      as District Attorney for the 12th Judicial Circuit; and Danny c=arr, in his official
                                                                 .                    .        .                                 ..                                                               ..                                       .                                                                                                             .                                                .                    .

                      capacity as
                               .
                                  District Attorney for Jefferson County (collectively, "Defendants"), · · ·
                                                                                      .                                                                                           .                                                                           -                                       -                                                                          .                   -                 .


                                   .                    .                             ..

                 . respectfully stating as follows:

                                                                                          PRELIMINARY STATEMENT

                                       1.               · -This Action is -a_. federal constitutional challenge to the. State_· of

                 __ Alabamf s Vulm~rable Child Compassfon and Protection Act (the "J\.ct"), pas$ed by

                 · the Alabama Legislature on April 7, 2022, -and signed into ·law by Governor Kay_
                                                                                                                                                 .                        .                                           .                .                                                      .



                  . Ivey on April 8, 202i Unless· enjoined, the Act takes effect May 8; 2022..
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                                 .           .                                                                                  .                                            .                   .                        .                         .                            .                                                                       .                                                          .                                      .                       .


                  2. •- - .The Act intrudes irito the right of parents to make medical decisions to

    - ensure the health and wellbeing of their children. It does so by prohibiting parents
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     from seeking and obtaining appropriate: medical 'care for their children and

     subjecting· them.to criminal prosecution_ifthey_ do so.

                  3.                     The Act also targets transg;ender minors by imposing criminal penalties
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    . on ·any
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              individuals, including parents and health
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                                                        care
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                                                             providers,>
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                                                                         who obtain< or .  . .                                          .                                        -                                    .           ''                                     .                                                                                                           .         .                                  .                                .




     provide medical treatments essential to the minors' health care needs.
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                . 4. _                   Further, the Act is worded broadly, criminalizing anyone who ''causes;'
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    . an· individua1 to receive the prohibited medical treatments, so that doctors, parents;

    . and even clergy cannot discuss, . advise,. or counsel parents of transgender minors· _
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     about how to address their children's medical needs. ·

                  5.                     Plaintiffs seek declaratory and injunctive. relief to erijoin the

     enforcement of the Act. Without the injunctive _relief sought,
                                                                .  .
                                                                     Plaintiffs
                                                                         ..
                                                                                will

    · experience irreparable injury; ·

                                                                                                                                                                                 PARTIES•

      I.          Transgender Plaintiffs andTheir Parents·
                                                                 .               .     -                        .                   .                    .                           .                            .           .         . .                  . .             .                   -       .       .          .   .               .            .           -   .   .       . .       .            .       . .   .                    .           .


                  6. --                  Plaintiff Brianna Boe is and has -at all relevant times beert ·a resident of

-.• Montgomery County, Alabama. She is the<mother of Plaintiff Michael Boe, a 12- _.

    . year-old transgen,der boy for whom she also appears in this case as his next friend.
            -                                        .                   '                                                                                                                                   .                          .                                                    -                                              -.                       .               ·.                    ·.            ·.                                            '




    - Because ofconcerns about potential cri~inal liability, as well as her ·and her child's -



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        •privacy and safety' Brianna Boe and I\1ichael Boe see!( to p_roceed in this case under .
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·· -. a pseudonym: See Motion to Proceed Pseudonymously; filed concurrently herewith.
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                           7. _- PlaintiffJa:nies Zoe is and has                                                                                                              at alLrelevant times been a resident of
         Jefferson County, Alabama: James is the father of Plaintiff Zachary Zoe, a_ 13-year.:.

         old transgender boy for whom he also appears in this case as his next friend. Because -

        · of concerns about potential criminal liability•, -as                                                                                                                                              wen as his and his· chHd' s privacy. ·
        •and -safety, _James Zoe< and Zachary Zoe <seek -to proceed -in this case under
                                             .       .       -                       -       .           .                                                            .       ...                  ..           .           .                   ..       -            .       ..                           .-                   . .. . . .                                   .                   .
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         pseudonym. See Motion to Proceed Pseudonymously, concurrently filed herewith. _

                     -• 8.                - Plaintiff Megan Poe is and has at all relevant times been a: resident of ·
    -                  .                             .   .               .                                                  .                           .                                                       .                                                                  .       .               .        .               .                .           -                           -       .

        -_ Cullman County, Alabama. She is the mother of Plaintiff Allison Poe, a 15~yellr-old
                                                                                         .                                                      .                 .                                                                                  -            .                                                                         .
         transgender girl, for, whom she also appears in this case as her next friend; Because

        -of concerns about potential criminal liability, as well as her and her child's privacy -
                                      -                                                                                                                                                                                                                                                                                                                                                                  .

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         and safety, Megan Poe and Allison. Poe seek -to proceeq_ in this case under a

        ··pseudonym. See Motion to Proceed Pseudonymously, filed
                                                            .
                                                                 concurrently
                                                                   .
                                                                              herewith.

                       · 9.                  Plaintiff Kathy Noe is and ha{ataUrelevant timeS: been a resident of ·
                                                                                                                                                .                                                                                                                                              .                                            .

         Lee County; Alabama.· She is the mother ofPlaintiff Christopher Noe, a 17"'year-old ·

         transgender boy, for whom she also ~ppears in thisc~se as his hext fri~nd; Be~ause .
             .                                                                                       .

        -of concert1s about potential criminal liabiHty, as well as herand her child's privacy-•-

        - and safety, Kathy Noe and Christopher Noeseek to proceed in this case under a
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         pseudonym. See Motion to Proceed Pseudonymously, filed concurrently herewith.



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    · II.                       Healthcare Provider Plaintiffs
                                                   -                                                                                                     .                                                                                           .                                                         .                                   .
                                10. · · ·Plaintiff Jane Moe is a Ph:D~ level, licensed clinical child psychologist
    •       •   .       •            r,       .    •                                                                       .            .•       •                                                   .             •                 .                       •                            •           .   •        .   .               .               •       •       •           .

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        with over 20 years of experience who maintains a practiceJn Jefferson County~                                                                                                                              .                                                              .




    . Alabama. Dr. Moe works in a hospital setting within the .University of Alabama at

        Birmingham ("UAB") system where she regularly provides mental health care to ·
    .                       .                                                                  -                                                         .                             .           . -.                . .           -               .                                .                            .                               .
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        children arid adolescertts, including· ttansgelider youth. Dr.                                                                                                                                                                                                                            Moe also                                         resides in .

        Jefferson County,•Alabama. Because of. concerns.about
                                                        .     potential •criminal. liability,                                            .                               .                                                                                                .                           -                                                                                    .




        as well as the privacy and safety of her patients, Dr; Moe seeks to proceed in this
                                                                                                                                                         .                                           .                               .                                                                                                     .       - -

.·· case under · a pseudonym. See Motion to Proceed Pseudonymously, filed ·

        concurrently herewith... ·
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                                11.                    Plaintiff Rachel Koe, M.D., is a board~certified pediatrician with over
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· . 10 years of experience. Dr. Koe is a pediatrician in southeast Alabama where she
                                                           .                   .                                                                                                                                             .                                                                                             -

        regularly treats children and. adolescents. ·She also. refers transgender patients .and·

        their parents· to healthcare· providers who specialize in working. with transgender                                                                                                                                  .                                                                                                                                                                         .




    •patients, including to the.Children's.Hospital of
                                                    .
                                                       Alabama·and
                                                          . .
                                                                   medical staffatUAB. ·
                    .                             -.                                                       .                                         .                                                            ..                             .                                                            ..

        Hospital, which are both located in Jefferson: County, Alabama. Dr. Koe resid~s and
                                          -                                        .                                           .                                     .                         .          .                                              .                                    .                                    .                       .   .   .                   .



    · works
         .  in the 12th Judidal Circuit of Alabama. Because
                                                        .   of concerns about potential                    .                                                                                                       .                                                                                           .                                   .                           .   -

        .                                          .           .       .                                       .                   -                                                       .                  .    .             .                   .                                                                                                                     .       .                       .

        criminal liability,
                 .     .
                            as well as the privacy
                                              .
                                                   and s~fety of. .her patients, Dr. Koe seeks
                                                                   -                       .-
                                                                                               to ·    .                                                             .                                                   - .                 '                        .       .               -                                                            .                           ...


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        proceed in this case under a pseudonym. See Motion to Proceed Pseudonymously, ·

        filed concurrently. herewith. ·



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                ·III. . Reverend Paul A~ Eknes:.. Tucker.
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                                                 12.            Plaintiff Reverend Paul A:Eknes-Tticker is aSenior Pastor at Pilgrim.·                                                                                                   .                   .   .
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                •Church in i3im1ingharri; Alabama. Iri his role as. Senior Pastor, Reverend Elmes'.'" .

                · Tucker has provided pastoral counseling to. parents of transgender children who are

                    congregants at his church as well as members of the Birmingham community.
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            · .·• Reverend Eknes-Tucker ·counsels parents ·oftransgender··children. about.feligious ..
                                •                           •   •                               I                                   ,                                                                                        •                                               •   ,                       •                        '              •




                    faith-based
                         .      .teachings about .love, support, and· respect. for· all ·persons. He . also
                                                                                                    .                                                                                                .                       .



                                                                                                                            -                                            .           .       .           .           -               .                                   .                       .           .                                       .
                    supports parents who are seeking medical treatment for their·. child's · gender

            · . dysphoria•. ·

                .IV. · Defendants
                                                 13. ·. Defendant Kay Ivey is the Governorof the State of Alabama. Governor

                · Ivey is sued in her official capacity as Governor of Alabama.

                                             · 14.              Defendant Steve Marshall is the Attorney General of the State of.

            . . Alabama, He is the chief law enforcement officer of the State with the power to

                    initiate criminal action to enforce the Act In his capacity as Attorney General,

                    Mr. Marshall has the ability to enforce the Act. Mr. Marshall is stied in his official

                    capacity as Attorney General of Alabama.

                                                 15 .. · · Defendant Daryl D. Bailey is the District Attorney of Montgomery
                        -                                           .                                               .                                                                                    .                               .                                                   .                                .



                ·county, Alabama. He is the chief law.enforcement officer of Montgomery County,
                                .                       .
                                                                                    .       .
                                                                                                                                    -                                    -                                                   .           .               -       .               - .                                                  .


                    who prosecutes an· felony and some misdemeanor criminal cases which· occur within · ·



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·· _ Montgomery County. In his capacity as DistricfAttorney, Mr; Bailey has the ability

      to enforce the Act. Mr; Ba.Hey is sued in his official capacity as District Attorney of

      Montgomery County, Alabama.
                                                                                                                                                                                                 .                                                                  .
                                   16.                 Defendant C. Wilsori Baylock is the District Attorney for the-32nd

      Judicial Circuit overseeing
                          .      .
                                   Cullman Comity; Alabama: He is the - chief law                                                                                                                -                                                                                                                         -                    -
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      enforcement officer of Cullman County Who prosecutes all felony criminal· cas~s ·_- -

      that occur withiri Cullman County. His prosecutorial authority exterids to the .
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      enforcement of the Act within Cullman County. Defendant Baylock is sued in his -
                                                       .       .                            .    .                          .                             .                             .                                                                                                     -

  -official capacity as District Attorney of Ciillman County, Alabama.
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                                   .1 7. - Defendant Jessica Ventiere is the District Attorney for Lee County;

      Alabama. She is the chief law_ enforcement officer of Lee -County, who ·prosecutes ·
                                   .                                       .                                                                      .                                                                -:       .                                  -    :                                 .                .   -                .                                  .   .             .                           ·.
              .                                                                                 . .                             .                             .           '.                             . .                                                        .                                         .            .    -                                      .               . .                           '


      all felony and some misdemeanor criminal cases which occur :within ·Lee County. In --··-
                                                                                                      -                                                           .                                                .                                                                                                                                     .
      her capacity as DistrictAttorney, Ms. Ventiere has the ability to enforce the Act. Ms.
                       .                       . ..                    .                              -                                 .                             . -.                                                  .                                       ..                ..                                                                                                     .

      Ventiere is sued in her official capacity as District Attorney of Lee County, Alabama.

                                   18.                 Defendant Tom Andersonis the District Attorney for the 12th Judicial
                                                                                                                                                                                                                            .                                                             .



      Circuit overseeing Coffee Cmu1ty aild Pike County, Alabama. He is the chieflaw - -
- .                                            . - -       -               .                              .             .       -       .                                 . .           :                 ....                           :            .'            -         '       .       .                   .·                                .                                  . -   .
 -                 .           .           .       .                                .                             ·._   .                   - .                                     .                          .                                          ·.             ·.       .                                                     .                                              .             ·.

      enforcement
               . officer of Coffee and Pike Cou~ties, who prosecutes all felony and -                                               .                                                                                      . .                                     ..                                                                                              .                                             .


                                                                                                          .                                                                                                                                                                               .



      some misdemeanor criminal cases which occur within Coffee and Pike Counties: In •-• ·

      his capacity of District Attorney; Mr. Anderson has the ability to enforce the Act. -




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         Mr. Anderson is sued in his official capacity as the District Atfoniey of the J 2th

     --Judicial Circuit.                             .
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                   - 19. ---- Defendant Danny Carr is the District Attorney of Jefferson County, -.

         Alabama. •He i~ the chief law enforcement officer of Jefferson County who

         -prosecutes all felony criminal cases that occur.within the Birmingham Division of -_
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                                                                                                                                                                                                                                                      In his capacity as District_
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     ·. Jefferson County, including the City- of Birmingham.

         Attorney, Mr. Carr has.the ability to enforce the AcL Mr. Carr is sued in his official .
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    _ capacity as District Attorney of Jefferson County, Alabama;
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                   -·• 20.--• • Defendants each-have separate -and independent authority to enforce the

     · Act within their respective jurisdictions.

                                                                                              JURISDICTION AND VENUE

                   - 21. • Plaintiffs seek redress for the deprivation of their rights secured by -

         Section 1557 of the Affordable Care Act, the United States Constitution, and the
                                 .                                                    .       .                                                           .                           .        .                         .       .                                                                  .        .
         equitable powers of this Court to enjoin unlawful •official conduct: This. actioll is·_
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     · institutedpursuantto 42 U:S,C, §18116 and42 U.S.C. §1983 to enjoin Defendants_-
.                                                                                             .                                                       .                                       ..                                 ..                                    .                                    ..                           .                 .


     · ·from ·-enforcing
                   .
                         the . Act ·and· for- a declaration that -the ·Act violates· federal law,     .                                                           .                                                                       .                                        .                                                         .
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    - Therefor~, this Court·has subjectmatte~juri~dicti~n _pursuant to28 •u.S.C. §§ 1331 · -. •

     -and 1343.




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                                          . 22. · · This · .~ourt has . personal juri~diction • over •Defendants . because · ·

         . Defendants·are domiciled in Alabama and the denial.of Plaintiffs'.rights guaranteed.
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             . by federal•faw occurred withiriAfabama..

                                                       23. · All Defendants reside in Alaba:ina, and, upon information and belief, ·

                 ·Defendants Ivey, Marshall, Bailey, Ventiere,· and Anderson reside in this judicial
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                 district. Therefore~venueisproper in this districtpursuant to28 U.S.C. § l39l(b)(l)'.

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                                                       24. · If enforced, the . Act would violate . the •federal
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                                                                                                                 . statutory_
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                     constituii'onal rights of Plaintiffs in this judicial district Therefore, venue is also .·
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    . - p~oper inthis district pursuant to 28 u.s~c § l39l(b)(2).
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                                      • 25.                                  This Court has the authority to enter ·a declaratory judgment and to .

                 provide preliminary and permanent injunctive relief pursuant to Fed. R. Civ. P. 57.
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             . and 65, 28 U~S.C.§§ 2201 and2202, andthis Court's inherent equitable powers.>
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                                                                                                                                                                          FACTUAL ALLEGATIONS
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                     · I.                              Gender Identity and Gellder Dysphoria ·
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                                                                                                                                                                                                is an innate, internal sense of one's sex and. is an
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                                          ·. 26.                             Gender. identity

. ·. immutable aspect of aperson's identity. Everyone has a gender identity. Nlost
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                 people's gender identity is consistent with-their birth sex. Transgender people,
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             · however, have a gender identity that differs from their birth sex,

                                                   27. - Gender dysphoria is the clinical diagnosis for the di.stress that arises ·
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                 when a person's· gender identity- does not match their birth. sex. To receive a



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    diagnosis of gender dysphoria,
                                .
                                   a young person must ineet the criteria
                                                                      .
                                                                          set forth in the

Am. Psychiatric Ass'n, Diagnostic and Statistical Manual ofMental Disorders (5th

 ed. 2013) ("DSM-5"). 1 If left untreated, gender. dysphoria cari cause anxiety,

 depression; and self-hartn, including suicidality.

          28.    In fact,. 56% of transgender youth reported a previous suicide attempt

. and 86% of them reported suicidality. See.Austin, Ashley, Shelley L. Craig, Sandra

D. Souza, and Lauren B. Mcinroy (2022), Suicidality Among Transgender Youth: .

Elucidating the Role of Interpersonal Risk Factors; J. of Interpersonal Violence .

. Vol. 37 (5-6) NP2696-NP2718.

          29. . Research has shown that anindividual's gender identity is biologically

based and cannot be changed. In the past, mental health professionals sought to treat .·

    gender dysphoria by attempting to change the person's gender identity to match their_

birth sex; these efforts were· unsuccessful and .caused serious harms. Today, the

medical profession generally recognizes that such. efforts put minors at risk of

    serious harm, including dramatically increased rates of suicidality ..




    1
·   Earlier editions of the DSM included a diagnosis referred to as "Gender Identity
· Disorder." The DSM-5 noted that Gender bysphoria "is more descriptive than the
  previous DSM-IV term gender identity disorder and ·focuses ·on dysphoria as the·
  clinical problem, not identity per se. Being diagnosed with gender dysphoria
  "implies•· no impairment in judgment, . stability, .·reliability,· or general. social or .. ·
  vocational capabilities." Am. · Psychiatric Ass'n, Position Statement on
  Discrimina_tion Against Transgender & Gender Variant Individuals(20l2).

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                                                   . 30; · Gender . dysphoria is highly treatable. Healthcare
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                                                                                                              providers· who .
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                 · specialize in the treatment of gender dysphoria follow a well-established standard of
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                                                                                                                                                                                                                                                                                 or inedical and mental health associations in •
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. . . . care that has been adopted by the rriaj

                     the United States
                                 .     including, but not
                                                      .   limited to, the American Medical Association,
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                     the American Academy of Pediatrics, the American Associ8ction of Child and
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                     Adolescent Psychiatrists, the Pediatric Endocrine Society,_ the American Psychiatric ·

                     Association, the American Psychological Association, and the Endocrine :society.
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                                                               31.                                       The standards of care for treatment of transgender people, including .·
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 · · . transgender youth, were initially developed by the World Professional Association
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             · for                                     Transgender Health                                                                                                                                                  (''WPATH"), <an international;                                                                                                                                                                                                                            multidisciplinary,
     -                             .                   -                   ·.                                ._                        ·.                                                              .                       .                                    .                     .                           ·._                   -.                                   ·.                .                .                       -           .               . .                                                         .              . .                  ·.                   ._
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                  ·professional association of medical providers, mental health providers;. researchers,
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                     and others, with a mission of promoting e-Vidence:.based care and research for.·

             · transgender health,·. including the . treatment .of gender. dysphoria.                                                                                                                                                                                                                                                                                                                                                                                   WPATH published·       -
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                     the most recent edition of the Standards of Care. for. the treatment of gender dysphoria
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             . in minors and adults iri 2011 and is in the proqess of finalizing                                                                                                                                                                                                                                                                                                                                                                                        a revised edition of .·_
                     the Standards of Care, which will likely be published later this year. ·
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                                                               32.                                      -The Endocrine So~iety has ~ls~<promulgated astandard of care for the

                     provi~ion of hormone ·therapy as a treatment for ·ge11der .dysphoria in· minors and .
                                                                                               .                                                                                                                                                                                 .

                     adults. ·See Wylie· C. Hembree, . et. ·al., Endocrine Treatment of Gender-. ·




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  .· Dysphoric/Gender~Jncongruentl'ersons: An Endocrine Society Clinical Practice

          Guideline, 102 J. Clin. Endocriri:ol. Metab. 3869 (2017).
                                                                                                                                                                      .                                    .                                                '                            .
                                   33..                      The American Medical·. Association;·• the American Academy of

      . Pediatrics, the American Association· of Child. and AdolescentPsychiatrists; the

          Pediatric Endocrine· Society, the American Psychiatric Association, the American ·
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  · Psychological Association, and other professional medical organizations also follow

      . the WPATH and Endocrine Society.standards of care~
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                                   34. ··. The treatment .of gender dysphoria is designed to reduc~ atransgender
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  ··person's psychologicardistress by permitting ·them to live in alignment with their
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      . gender identity .• Undergoing treatment for gender dysphoria is conunonly referred to
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          as transition. There are several components to the transition process: social, legal,
                           .         .           . .                                                                                        .                .                        .            .                           .                                             .       .                       . .                                                                                                 .

      •medical, and surgical. Each of these components is part of the medically approved .·
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          proces·s for transition, some or all of which a transgender person may undertake as

          part.of their transition~·

                           ·.. 35;                       Social transition typically involves adopting                                                                                                                                                                                                             a hew name, ptoriouns,
          hairstyle, and clothing that match
                                         .
                                             that person's.
                                                       .
                                                            gender identity, and treating
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                                                                                          that .                                                                                                                                           .                                             .

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. . . person consistent with th~ir gender identity in all aspects of their life,including .
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          home, school, and everyday Hfe. Following those steps,. transgender people often · ·
                                                                                                                                                                                                                                                                                             .                                                                                 .

          obtain a court order legally changing their name and, where possible, changing the
                                                                                         .                                                  .                                                                  .                                                .

          sex listed· on their birth certificate and other identity documents.



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          36.              For transgender people who have begun puberty, it may be appropriate

  for them to. start taking puberty-blocking medication ·and later hormone-replacement.·

 : therapy to ensure their body develops in                                                                          a maooer consistent with                                                      their gender .

 . identity.

           37.             Finally, surgical treatment may in some cases be part of essential·

·. medical care for a transgender individual. The only surgical treatment available _to ·

 -trartsgender minors is .male chest reconstruction surgery, a procedure to remove
      .                                                                                                     .          '                                      .                                                                        .


 .existing breast tissue and create a male chest contour for transgender males. Like all -
               .           -                                                            .                                  -                        .

· · treatments for gender dysphoria, male chest r~construction surgery is safe and ·
                                               .               .                        .               .                                           .

  effective •in treating gender dysphoria. The. medical necessity _of surgical ·care. is
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 ·determined on a case.:.by-case basis that considers the age of the patient, medical

 need, and . appropriateness of the proceciure relative to_. the psychological . ·

  development of the individual. ·
                                                           .                        -       .                                               .                                     -

           3 8. . Longitudinal studies have shown that children with gender dysphoria                                                                                         .                        .




•.· who receive essential medical care show levels. of mental health and stability
                                                                                                .                                                       .             .                                            .   .           .

  consistent with those ·of non-trarisgender children. Lily Durwood, et al., Mental

 Health andSelf-Worth in SociallyTransitioned Transgendet Youth, 56 J. Am. Acad.

_· Child & Adolescent
           .
                      Psychiatry 116 (2017);
                                       .  .
                                             Kristina.Olson;
                                               .
                                                             et al., Merited .Health
                                                               .              ..   .
                                                                                     of                          .                                            '       .                   .                            .                       .




  Transgender Children who are Supportedin Their Identities,_ 137 Pediatrics -1 _·
                                                       .                   .'                       '           ..             -.       .                   . .           .                   .   ..                                       .
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  (2016). In contrast, children with gender dysphoria who do nolreceive appropriate .


                                                                                                            lJ ..
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                                              -                                    .            .                   -                                 .                .   .   .

  medical care are at risk of serious harm, including dramatically increased rates of ·

  suicidality and serious depression.

   II.    The Alabama Vulnerable Child Compassion and Protection Act

         39;    On April 8~ 2022, Defendant Kay Ivey signed the Act into law, and the -

  Act is scheduled to. become effective on May 8, 2022. _-
                          .
                                          .           .                        .       ..               .                   -

         40. - The Act prevents parents from consenting to, and healthcare

  professionals from providing, well-established medically necessary care~ The Act·
                                              .           .                        -        .   '               .                  '     .
· . also applies .to· any individual who ·''cause[s]" such care to be provided to _ a

  transgender· minor. ·

         41.    Specifically; subsection 4(a) of the Act provides that:
                                  .   '                       .       .   ..                                                    . .. .       ..               ..   '

                     ..       .       .                   '
                                                              .           .                         .               .                        .        .

                Except as provided in· subsection (b), no person shall
                engage in or cause any ofthe following practices to be ·
                performed _upon a minor if the practice· is performed· for
                the purpose of attempting to alter the appearance of or
                affirm the minor's perception of his or her gender or sex,
               _if that appearance _or perception. is inconsistent: with the ·
                minor's sex as defined in this act:

                   (1} .: Prescribing or admiriisteririg puberty :bl9cking
                          medication to stop or delay normal p~berty ..
                                                  .               .                    .                    .           .                         .       .

                  _(2) · Prescribing· or administering · supraphysiologic
                         doses of testosterone •or other androgens -to .
                       . females.
                   (3):       Prescribing. or administering· supraphysiologic.
                              doses ofestrogen t6 males; .
                   (4)        Performing- surgeries _that·· sterilize,· ·including
                              castration,-_  _ v~sectoniy,: _ _ hysterectcimy, ·
                              oophorectomy,. orchiectomy, and penectomy:


                                                                               14
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                                    (5) .. Performing surgeries .that artificiaUy constrt1ct ..
                                        ·. tissue with the appearance of genitalia that differs
                                         · from     the · individual's · sex, · including ·
                                          · metoidioplasty, phallopla,sty.,. and vaginoplasty.
                                                                                                   .                   .    .                                     .
                                     (6)                  Removing any healthy or non.:diseased body part
                                                        . or tissue,except for a male circumcision.. . .
                                                                             .                     .                                      .                   .·                  -                                                 -                   .           .                         . .                    .

           · 42: · A violation of subsection 4(a) of the Actis a Ciass C felony,
                                                                            -
                                                                                 punishable.                                                          .                                                         -           .                                                            .          .




    upon conviction by up to 10 years imprisonment or a fine ofup to $15,000. ·

                   43.            As a result of subsection 4(a) of the Act, medical professionals,

· including the Healthcare Provider Plaintiffs; ·and parents
                                                        .
                                                        .
                                                             of transgender
                                                                        .
                                                                            ·miriors, .                            -                                                                                                                            .

.              .                                                             .                                                                                            .                                                                 '                                -                                                .

    including the Parent Plaintiffs~ are forced to choose between· withholding medically . ·

    necessary treatment. from their
                                 .
                                    minor trans
                                    .      .
                                                gender patients
                                                         .
                                                                or children, .on the one·
                                                                                     ..
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                                                                                                                                                  .           '                                                                         .                                    .                              .-
       -                                                             .                        .                                 .                     .               .                   .                '
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    hand, or facing criminal prosecution, on the other. Moreover, the broad language of

    the Act imposes content-based restrictions on discussions,· counseling; or referrals .· ·.

    regarding gender dysphoria treatments · for well..;recognized in . the medical
           .                               ..                            .                    .                                                       .                                   .                .                    .
                                                .                                         .                    .                              .                                       .                         -

    community that may result in. such care. being provided to. a transgender· minor.

    III. . The. Act Will Irreparably Harm the Plaintiffs •.

                   Brianna Boe and her son Michael Boe ··

               44.                Michael Boe is a 12-year-old frarisgender boy who ·resides with his .· .

. mother in·Montgomery County, Alabama. ·




                                                                                                                                    15
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                                                                                                               .                 .                                                .                        .                        -                   .   .                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                      .                       .

                          45.                                     · In his early years·, ·Michael· was a_ happy, outgoing chHd. But at nine
                     .                                                                                                                                                                .                                                     .                                           .                                                                         .

        years old,· Michael· became depressed and anxious.· Michael· also started struggling .

      . academically and socially.

                              46; · Michael eventually confided inhis mother that he felt as though he was

        not like other girls and was worried about being judged by his classmates. He also
                          .                                        .       .                                       .                             .                        .                .       .                                                                .                        .        .               .                   ·.·                                                                                     ..

        reported that he was being bullied in school. Brianna placed Michael in a·new school .

        for the following school year and brought him to a therapist to help him with his

            depression ..
                                                                                                                                                                                                   .                                                                                                                          .               .                                                                   .                       .

                         · 4 7.                                   Michael began to:talk with Brianna about his male· gender identity and
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        the distress and discomfort he was experiencing as he entered puberty, as his body·. ·

        began to develop in ways that were inconsistent with his sense of self.
                                                                                                                   . .                                        .       .                                            .       .                                        .                                                                     .       .               .   .                           .
                         • 48; . In June 2021, Michael told his .mother:that he is transgender_. With
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    ·.. support from his family and                                                                                                  amentathealth provider ·experienced in working with
        transgender youth, Michael began to socially.transition, including.adopting a male·

     . name and pronouns and generally living as :a boy in all aspects of his life.

                              49.                                 Since Michael began .to. socially· .transition, his .mood has .improved.
                                                                                                                                  .                                                                                                                                                                                                                                                          .
                 .                    '                                        .                       .                                         .                                                                 ..                                                                                                 .                                                              .                                                                .
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        greatly. His therapist recently recommended tllat Michael be evaluated for additional·
        .                                                                                                                                                -                    .                        .                            -                                           .                                                 .                           .                              .                        .       .
        medical treatment to address the· mismatch between his body and his gender identity: .. ··

                         - 50.                                    In February 2022, Briaruia reached out to the Children's Hospital of ·
                                              .                                                                                                               .                                                            ..                                           .                    .                                                                                                            .                           .
                                                                                                   .                                                                                                               .                               .                                                                                                                                                          .

        Alabama to make an initial appointment for MichaeL If this law goes into effect,



                                                                                                                                                                                                   16
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        .          .                                 ..                        .                       .                              .                 .                   .           .         .                                             .                               .                    .

however, that appointment will be cancelled, and Mic~aelwill_ have to further delay ·

his assessment for critical medical care.·
                                             .                         .                   .

             James Zoe and his son Zachary Zoe . < ·
                                         .                                                                                                                                                                                                      .                               .            .                         .

             5 L · James Zoe was born and raised in Alabama and attended the University

of Alabama at Birmingham. Like his dad; Zachary was born in Alabama and has

lived in the state his entire Hfe. Zachary. resides half.:.time · ~ith James ·and his

stepmother in Jefferson County, and half-time with his• biological. mother and .

stepfather in St. Clair County.
                               .         .                                                 .   . .                                                 .            .               .
                                                                                                                                                                                      . ,                                              .                                        .
                                                                                                                                                                                                                                                                                                                   .


             52. · Zachary _is a 13~year-old transgender boy in sev~nth grade~ He isa ·
                                     .                             .                                                                                            .       .                     .
                                                                                                                                                                                                                          .                -                .           .
                                                                                                                                                                                                                                                                                     .                         .
bright boy with a close group. of friends, _and is interested in video games and art.
                           .
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                                                                                                                                                                                                                                                    .           .
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                                                                                                                                                                                                                                                                                ..                                     .

             53.                   Zachary was assigned female sex·at birth .. As ayolinger child, Zachary
.                                                .                                                                    .           .   .            .                        .           .                     .                   ..            .                           .   '            .                                 .
        .              .                                       .           .                       '
                                                                                                       .          .       .                       ..                .                                         . .             .                         .                   .
                               .                                                           '   .             .                            .   .                                 . .     . .               .                            .                            .                            .       - .               .
was shy and reserved. Around the age of 8, Zachary began to express his dislike of •
    .                                            .        .                            .                                      .                             .                                                         .
                                                                                                                                                                                                                                           .                                             .
wearing dresses and bright clothing, .especially pink Over time, Zachary. started .

dressing irt more masculine attire and became upset if people identified him as a girl. ·

            · 54. . . Around a year later, he started puberty. Zachary was distressed that he
                   ...                                        ..                                           ...                                         ..                              ..                         .                            ,.



was developing breasts an:d had to deal with his period. This· caused him to become.·

even more, withdrawn. Arourid the age ofJ 0, •Zachary became uncomfortable ·

· wearing any>kind of clothing_that revealed his body. For example, he starte4 to wear

boys' athletic shorts and t-shirts instead of girls' bathing suits when going to swim.




                                                                                                                              17
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                                                                                                                .                                                        .                                                                            .

·.. James and.
            ..
               Zachary's
                 .
                         other parents .did·
                                         ..
                                             riot initially understand why he was
                                                 .             .               .                                            .                                                                                 . .                            . .      -   . .             -




 . withdrawn or why he was uncomfortable with his body .

                 . 55. • •. When Zachary was 11 years old, he began referring to himself using

         "he" and "him" pronouns. In response, some of his. friends mirrored his use of male

         pronouns, which brought ·z~whary a··· greater. sense .of self-awareness ·and .. self-

     . acceptance, allowing him to feel more                                                                                                                                                  at ·ease and happy.                                                                                                                It also gave him the

         confidence he needed to teH his parents that he is trans gender~ Both sets of parents·

•. · . were supportive of Zachary, using his chosen name and male pronouns.
                                                     - -           .               .       -                -                       . .   .                                                   .                                                                               .           .                                                           .                                                                   .
                                    .        .                                                                      . ..                                                     .                                                                                    .                                                                      .                      .           .            .           -.

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                                                                                                            .                                                .                                .                                                                                                                                                                                                                           .


                 •56. ·· Zachary's social transition has•been very positive for.hi_m. He uses
                                                                                                                                                                                                              .                                                   .                                                                          .                                                           .           .

 · chest binder· and appears and: dresses like other boys his age.· Since he came out,
 .                                               .                                                                          .
                                                                                                                                                                                 -        .
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                                                                                                                                                                                                                                                                                  .                                                  .
         Zachary has blossomed _into a happier and more outgoing child.

                 . 57. · In October 2021, after completing appropriate mental.health and other

         medical evaluations, Zachary began puberty-blocking medication prescribed by his
                                                           .                           .               .                .                                                            ..                                                                                                   .                                                      ..                                          .
 .                  .       .                    . .                                                   .        .               .                                .           ..       .       .           .               .                  ..       .       .                               . .     .                                                                             ..       .               -       ..

         pediatrician. with the support of both· sets. .· of plaintiffs. He · recently had ··an·.
                                         .                                                         .                                                                                                                                                                                  .                                                                     .

                                                                       '                       .                                                     .                                                -                                                                       -                                   .                                                 .               .                                         .


     : appointm.ent to · start the assessment proce~s · for< hormone th~ra.py. at Childr~n' s ·                                                                      .                                                    .                                                       .




         Hospital of Alabama in Birmingham;                                                                                                                                                                                                                                                                                                           - .       .                                                         .
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                                                           .           .       .                           ..               :       .         ..   - -   .                                .       .               .   -                      .        .   -           .       .                   .                   -.         .       .                  .   .. .    ...              .   . .             .                    ..



                  58.                   Continuing to receive ·puberty-blockers and progressing wi~h medical
                                                                                                                                                                                                                                                          .                                                                          .

         treatments for his gender ·dysphoria,. as deemed appropriate by.his treating providers, .· .
                                                                                               -                                                                                                                                  .                                               -                               .                                                                 .

· . is essential for Zachary's mental health. If the Act were enforced,Zachary's parents·
                        .                                          .                                        .                   .         .                              .                    .                           .              -                                        .                           -                                  .-             .       '       .                .               .

     .                                                         .                                                    .       .                                ,                            .-                  ·._                        -                            .                       .       .                 ·.                        -                     .                ·.          .

         would no longer be able to rely on-or follow~the advice of qualified and trusted



                                                                                                                                                                                              18
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    . healthcare providers . to· make decisions that keep. Zachary healthy ·and ·. safe.

     Zachary's parents know that if Zachary is not ableto receive the medications or
.                       .           .                        ·.                                           .           ',                                        ·.          .                       ·.          .           ·.                  .                                                            .       ·.


    . treatments necessary to treat his gender dysphoda, his life will be disrupted, ·and his .
                                                                          .                                       .

    . physical and mental health will suffer.

             . Megan Poe and Allison Poe

              59 .. · Allison Poe is a 15-year.:.old)tansgender girl who resides with her .

     mother, Megan Poe; in Cullman County, Alabama. · ·

              60.                       As ayoung child, Allison showed interest in girls' toys and clothing.

•. Thinking this was a phase, her parents fuitially refused to buy Allison any girl toys.

    · ·Without asking, Allison's grandmother bought Allison a Barbie doll. Allison was so

     happy and carried it everywhere.

              6L                        When the family returned to the United States from her father's military

     deployment abroad, Allison would become· very upset wheri her mother refused to .

     buy her girls' dothes. As a compromise, Megan bought Allison a few .girls' toys. · · ·

     Eventually, Allison's father found them and attempted to throw them away, but
                                                                                  .             .                              .                        .

     Allison's brother snuck them back into the house.·
                                                             .                          .            .                                                                                          .                   .                       .
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              62; · When Allison was around nine years old, her personality began to
              .             .           .                             '                                                                             .                                                                                                                   .
    · change significantly. She became withdrawn, quiet;showed.sigris of depression, and.·•.

     regularly commented
         .      .
                         that she. wanted to die. She also stopped eatingregularly.                                                    .                                                                                                                .
                  . .                               .                         .         .           . '       '            .       .                        .                       .       .              .        .                                       .               ·.         .                     .   .
                        .                                                                             .                                    ·.                       .           .                              ·.                          .        .            .          . .                                      ·-.


     Allison's actions became ·so ·worrisome to· Megah that she consulted with a



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         pediatrician. The -pediatrician suggest~d that AlHson may be transgender and •
                      .                                                                                                                     .                        .                                        .
         referred them to the gender clinic at UAB Hospital. ·

                                       63 .. : After evaluating Allison, the tearri of clinicians educated· Megan about· .
                      .                                                                                         .                                                                                             .                                                              .                    .
         what Allison was experiencing and gave. her :advice·
                                                          .
                                                              about how .to support Allison.                                                                                                 .




     . That visit was a turning
                              .
                                point for Megan. She
                                                  .
                                                     became supportive of Allison,
                                                                            .
                                                                                   helping ·                                                .
:.            ..                                    -: .           .                   '               ' .. _ .. -                      <       .       ..                                   . .. -.                                        '                       - .:                              .. - '                                  . .                     - :              ..
 -                .           .    .                                   .               .                .                       .                       ·.                       .               ·.                                                 .                                                  .           .     .                                .               -                     .

     · her redecorate her room and buyirtghetgirls' clothes. The first time Allison came.

         outofherroom in girls' clothes, she was beaming with joy.

                                       64.                        By fifth grade, many of Allison's peershad. started showing the first

         signs of puberty,-and Allison became scared about going through a male ·puberty. In

         anticipation of her starting puberty, Allison started the process to be evaluated for .

         puberty-blocking medication: ..
                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                             ..                                                                                         .                                     .                                              ..
                                                                                                                                            .                        .                   .                                                                  .
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                                       65.                        About seven months ago, just as Allison was begil1lling high school,
                                                                                           .       .                        .                   .            -                                        .           .             .   .           .               -                         .                                                           '                       .


     · she was. evaluated. for and eventually started on estrogen. Her mental health has
                          -                               .                        .                        .                                                                                             .       -                     .                                   - .                                                               .
     · improved dramatically; she is confident, social,· and doing well in school.
                                                                                       .                                                                                                                  .               .             .                                             .

                                       66.                        If the Act is allowed to go into effect, Allison's medical care will be_··.
                                                      .                                                                                                                                                       .                             .



         disrupted,
               .
                    which would cause Allison extreme anxiety and distress. She will
                                                                                 .
                                                                                     develop
     .        .                                                                                                                 .                                                                -                                                                                                     .                           -                              .   .                .
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                                                .             -                                                                                                                                                       '                       ·.                                                           .       ·.                    .                                         .
          .                       ·.    -                                      .               -                        .           . . . ·..                            .   -                            .               ',.   -           ·..                                   .                   .· . .            · ..           - . .                  .                        ..

         physical traits that are inconsistent with her identity as a girl that will require her to

     · urtdergo._otherwise avoidable·surgeries in the future as.an adult..·




                                                                                                                                                                                 20
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              ·· · Kathy Noe and Christopher Noe •. •
                                                                                                                                                                              .                                                                                                                                      .
                       67.                Christopher Noe is a 17-year-oldtransgender boy who resides with his
                                      .                   .
                                                                                                               .                .                   .                                 .                                        ..                                 ..               .                                     .                   -

     . mother, Kathy Noe,.inLee Coooty, Alabama.:cbristopher and Kathy have deep roots·

      in Alabama, having moved to. the State just before Christopher turned 4 years old.

· . Kathy is former active-duty military, while. Christopher's father is still active-duty

    · : military artd is deployed abroad. ·

                       68. . Since Christopher was a toddler, he resisted attempts to dress him as a
          .   . . .   . .                      . ·.               ..                   .       .   .                   .   .·           .       -                -   .·               .   .   .           .·       -                                         .                          -                       .            . .                         .
              .                            .                                       .   .                                                                     .        .                                   .                -                                               .   .                                     .                                               .


      girL For example, he refused to attend his sixth~grade gradtiationbecause doing so ·

      meant he would have to wear a dress ..
                                 --                                    .               .
                                                                                                                                                                                                                                        ..                                     .
                                                                                                                                                                                                                                                                                            .       .           . .. .           .                   .
                                                                                                                                                                                                                                                                                                                                                                         .                .


                       69. . .            As Christopher began to enter puberty·, his distress at the changes his ...
      body was undergoing and at being made to pres.ent as·. female intensified. .
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                      · 70. .· When ·Christopher was 14, he told his niother he is trailsgender.. Kathy . ·

    · . found Christopher a therapist experienced. in .working with transgender young

      people. The therapist helped both Christopher and Kathy navigate the beginning .

     . stages ofChristopher's transition.
                                  -                                                                                        .                                                  .                           .



                       71. . About ayear later, Christopher came outto his father as transgerider..
.             -                                       .                            .                                                                             . - - - .                            .                .                             :            -            .                                    ..       :           .                                       .            .
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                                                                                                                                                                                                                                                                                                                                                                                     ..

    ·•Christopher's father struggled initially~. butbecause of
                                                            .
                                                               his lo~efor
                                                                   .       Christopher, his                                                                                  ..                                                                                                .                                     .                                   .


      .                                                                                                                                                                  .                .

    · : father began to accept Christopher for who he is.

                       72. · With his father's support~ Kathy·took Christopher to a physician to
                                                      '                                                                                                              .        .                                                          -           .                     .   .                                -            -                   .               .                        .
                                                                  .        -           . -                 .                        .                                                                                                                            ..                                     -                    .                                               .
                                                 .                                                                                                  .
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                                                                                                                                                                                      -           .                -                                                               ..

      begin the >evaluation for hor111one-replacernent therapy. Because Kathy and



                                                                                                                                                        21,
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· •. Christopher live close to the Alabama-Georgia state line, Christopher's doctors are . ·

 . in Columbus, Georgia. Christopher's prescriptions, however, ··are filled at .a

          pharmacy in Alabama.

                                 73.             Christopher .began: hormone replacement therapy in· March 2022.

          Christopher has been- noticeably happier. He· is bubbly an:d more outgoing and is

 · confident at work and around
      -        -             - .
                                 other pe:ople.
                                 .          .
                                                ·•                                                  .                                                  -




                                 .74_ .· Jfthe Actis allowed to go into effect, Christopher's medicatcare will

          be disrupted, . which will. have devastating . and · irreversible physical and

 •·. psychological consequences.

                            , Dr. RachelKoe
                                             .       .
                                                               .               .            .
                                                                                                .                                 . ..        .            .                        .    .
                                                                                                                                                                                                                                   .                                          .           .
                                 75. ·. Dr. Rachel Koe is a board-certified pediatrician in southeastAlabama.

 ·· Over the past decade~ Dr. Koe has treated a handful of transgender patients, .

          including one currentpatient for whom she.provides primary·care ...
                                                         . .               .                                -       . .       .           .... -                    .        .·...           . .       . . . ·.       --           '                      . .·                        .       .

                                 76. ·. Depending ori the needs of the patient, Dr. Koe has referred patients ·

          and their parents to local mental health providers m,·well as the gender clinic at UAB .
                                         .                                              .                                 .           .                                                 ..                '                            ..                                 -



  .
          HospitaL Even after. referral, Dr. Koe remains involved with her patients' care. . For
           .           .                                                                ..              -                         -               -                                                               .    .                - .           -
           .               -._       .           .       .·            .           ·_                           .             .           .       .·                    ',      .                             '            .   .              .       .     ·.·       -           -


          example, Dr. Koe's office draws blood for< th~ir patient's
                   .   -                                    .      .
                                                                     regular blood work i~
                                                                                        .                                                                      ..


                                                                                                                          .                   .                                                    .                                              .               -

          advance of appointments with the gender clinic. Additionally, she and her staff

 . provide support to patients who need assistance in self-administering injectable

          medications like testosterone. ··
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                                              '                                                                                      .                                        .               .
                    77.            · Dr: Koe is familiar with the standards ofcare for t~e treatment of gender

        dysphoria and the medical literature
                                  .
                                             regarding those treatments. She has· also seen ·                                                            .                                    .




        the significant positive effects medical treatment for gender dysphoria has had ori

        the health and wellbeing of her patients.

                    78.                Ifthe Act goes into·effect, Dr~ Koe would be forcedto choose between

        complying with the Act and the· medical needs :Of her current and any future

        transgender patients whose mental .and. physical. health
                                   .      .                 .
                                                                 will ·deteriorate if denied                                 .                   .                                    .                                    .                           .                                 .




        ongoing medical treatment for their gender dysphoria. The Act forces Dr. Koe to
    .           .                                         .

        violate her professional and ethical obligations as a physician ·by denying her patients

        access to ·a course of treatment that is evidence-based -and· consistent. with the .

    ··established standards of care.
                                                                      .   .                              .           .           .           '           .        .                   .   .                                              . .           . .                   .   '




                    79. •: Dr. Koe would .also be required
                                                    .
                                                           to curtail her speech                                                                                                                  '
                                                                                                                                                                                                                           as she would no                           .

                              .'                                                                                         .                                   ..                                                       ..
                                                                                                                                                                                                      .
                                                      '

                                                  .                                                  .                                                                            .                                                  .             .


    · longer be allowed to provide accurate and comprehensive information to parnnts and· .

        about ·medically necessary treatment options for gender dysphoria and would be
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        prohibited from making referrals to specialists who could prescribe those treatments .. · ·

                    80:                Changing her practice in those ways would also require DL Koe to
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        violate her legal obligation as a Medicaid •provider to ri~t discrimi11ate in. the · ·
                                                                              .           .                                              .                                                                                                     .                     .                       .

        p_rovision of medical. care to
            '       '               .
                                       her transgender patients.
                                                           . .
                                                                 Ignoring that
                                                                 .          .
                                                                               obligation would
                                                                                           .  .                                                                                                       .           .            . .                             . .       .


                              .                                                                              .                                                                                                         '                                                             .

        jeopardize her ability to provide primary medical care-in rural southeast Alabama;




                                                                                              · 23 ·.
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                                  ·. Jane Moe, Ph.D.

                                       81.                  Dr. Jane Moe is a doctoral-level clinical ·child psychologist with a
                                                        .                                                         .               -                                                                                                                                  .            .                                                    .                    .                         .                                .

                     specialty in child developrrieni who currently practices in a hospital setting within

                · the UAB System. Dr. Moe ha:s: been a practicing clinical psychologistfor twenty

                     ·years and.has experience working with.children and adolescents with a variety of·.·                     -                    .
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                     mental health issues. For the past twoyears, part of Dr. Moe's pr~ctice has .been •..

                •dedicated to mental health treatment and evaluation• of transgender young people. ·
                                                                                  .                                   .                       .                                                                                                                                                                                                .                          .                                    .

                                       82.                  Dr~ Moe's work with transgender patients is guided by the well-

                     established standards of care and the hospital's informed-consent protocol. Her

                . assessment process engages both the patient and ·the patient's parents and requires a
                                                    .                                                   . .                               ..                                                                                    -                                        -. . .                                                            . . -.                         -
                      .                 .           .                                                                                                                                      .
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                     minimum of three to four visits: It is quite common for the assessment                                                                                                                                                                                                                                                                                   to require
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                     additional visits, but that determination
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                                                               is made on a case-by~case basis and                                                                                                                                                                           .


                                                                                      .                                                                                        .                           .                                        .                                                              .

                     dependent on the needs of the patient and the patient's family.

                                       83.                  In order to conduct her assessment, Dr. Moe gathers information about

    · · the patient from questionnaires, rating scales, and discussions withthe patientand .··                                            .        .                                                                            - .                                                                       .                                                                   '



                                                                                                            .                                     ..                                   .                                                                                                              .                                            ..                                                              -

                     the patient's· family. Pulling from multiple
                                                            .
                                                                  sources provides ·Dr; Moe with the·                                         .
    '                              .        .       .         .                   .                                                                    -           '
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        · information she neecis to detennine whether the patient meets the diag~ostic criteria ·
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                                                                                                                                                           .                       .                               .

                : for gender dysphoria as outlinedin the DSM-5 ..

                                       84.                  Once she has made, or confirmed, the diagnosis, Dr. Moe then begins

                ·. taking the patienfand the patient's parents through the informed-consent protocol.



                                                                                                                                                                                                       24
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     As required by the protocol, she has detailed dis<;ussions about the risks and benefits

     of the particular medical
                          .   .
                               treatment being considered bythe patient and their medical ·
                                                .                                                     .                                                 .                                              .               .                                                                                            .

     provider.. Because of the large aniourit of information that is reviewed as part of the ·

     informed-consent·protocol, this discussion.can occur over multiple· sessions and

    ·sometimes Dr. Moe will have separate sessions with the patient arid theparent(s) to

· · give e:ach person an opportunity to ask questions and engage with the information

     being provided.                                                                                                           .                                                                                                                                       .                                    -                                        .
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                          85. . After completing the inform~d"'."consent protocol, Dr. Moe writes a letter

    · to the patient's medical provider detailing the results of her assessment.· That letter

.. will include, for example, an overview• of the patient's mental health and; if needed, ·
                                                                         .                                             .                                                -                      -                                                                 .                 .                                                         '


    · recommendations on follow .up mental health care. Although the letter discusses a
                 ..                     .                   .                                     .                                    .                                                     - -           .                       '   .                                       -                 . -            .                                        .
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    · patient's readiness to .proceed with treatineht, ·Dr. Moe always recommends in the
                          .                                          .                                         .                                                .                        .

     letter that the medical provider conduct a •further assessment before initiating

     treatment..

                          86> . If enforced, the Act will .prevent Dr,. Moe from continuing to treat . ·

    · transgender patients in a manner that is consistent with the applicable standards of ·
.            .        -           . .       .           -       ..           -           .    .           .                    '   -           . '                  .                                      -       .           .             .           -   .       - -               .                .                               ..       - -         ...

    .care. She would not be able to provide the level of detailed information or engag~ in
     .            -           -     .                                                                                                      -                                                               .                                     .                             .                                .                                                    .

     in.:.depth conversations with her trans gender patients or the patient's parents about . ·
                                                                                                                       .                                                                                                                                                                                                            .
     medical treatments for gender dysphoria. Practicingthis way would require Dr. Moe ·




                                                                                                                                                        25
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  to violate her professional and.ethical o~ligations. Unwillingto do so, Dr. Moe fears
                                                .                                                                                        .                                                                            .

. that she will be subject to criminal prosecution under the Act.
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                                                                 .               -                                       .                                        .                                 .                             .                                                                  .
                        87.. Dr. Moe is also concemedforthe health and wellbeing of her.patients

 . should the Act go into effect. She has witnessed the significant distress herpatients ·

  experience· before· starting medical treatment· and. the tremendous positive effects·
        .                    .. .                                    .               .       .           .           .   .                                .                                                       .                                                              .           .                   .                                       -
                                                                                                                                                                                                                                                                .            .                                                       .                       '




. : those treatments have on her patients' mental.health: Without a~cessto that critical

  care, Dr. Moe worries that her patients' mental health will deteriorate in ways that
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  will interfere with their ability to function and cause lasting har111 to their health and •
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                             .                                               .                                   .   .                                    .           .           .                 . -                               .                 .                                    ..
    .                                                                                    .                                                                .                                    -                                                                          .'                                         .


  wellbeing, including· developing substance use issues and increased •suicidality.

                    ·Reverend Paul A. Elmes-Tucker
                                                                                                                                                                                           ..      ..                             .   ..                        . .     . .. .                   .   .           .       .           .                               .
                                                                                                             '                                                .
                                                                                                                                                                                                              .   .   .
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                                                                                                                                                                                                                                                                                                                                                                 .


                        88. ·.· Reverend Eknes.:.Tucker is the Senior Pastor at Pilgrim Church in.·
                         .                                               .                                                                                                                                                                                          .                                        .                           .
                    .                   .
                                            .                                                                                                             -               .                                           .                        ..                                                        .

  Birmingham, Alabama. The church was establishedi11 1903 and is part of the United

· Church of Christ. The core tenet of the congregation is to love and
                                                                    .
                                                                      support all people· ·                                                                                                                                                                                                                      .                               .

            .   .                               ..   .   .                                           .                               .       .                            . .                                     .   -                             -                                    . .                                 .   .


 · to· be their true and authentic selves: As such, his faith compels hiin to support and ·

  encourage parents to love and affirm their transgender children.• .. ·

                        89. ·. As a pastor, Reverend Elmes-Tucker provides pastoral counseling to
        .                    .      .                                                .
                                                                                             .
                                                                                                 -                               .               '
                                                                                                                                                     ·.           .                        '        .                         .            '                -            .                                                                       .       -
                                                                                                                                                                                                                                                                                                                                                                         .

 ·-families-of.transgender children.who are often.llllc~11:ain about what-guidance their

·. •faith· can· provide,. as they try .to .figure out. how t(). support •their. children \Vho are
                                                .                            .

  experiencing gender dysphoria. ·




                                                                                                                                                      26
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        90.    During .these. pastoral counseling sessions, parents of transgender

 children share their worries and fears as well as hopes and aspirations for their

 transgender children's future. Reverend Elmes-Tucker and the parents extensively

· discuss the application of their faith's teachings to each· family's unique

. circumstances. He also strives to answer questions and provide information to help

 parents make decisions about what is best for their children, including whether to

 consent to particular medical treatments, by accounting for· their child's Spiritual

 wellbeing in that decision-making process.

        91.    This includes counseling parents to seek the advice of other

 professionals, such as medical providers and mental health professionals,. as needed,

 to further assist their children.
                                               .      .

        92. . If this Act comes into effect; Reverend Elmes-Tucker is concerned for

 the spiritual and mental wellbeing of families he has counseled because he has seen

 the benefits that pastoral counseling has provided the families he has worked with ..

 Because of the content of Reverend .Elmes-: Tucker's. pastoral counseling sessions

 with parents raising transgender children, he will. face criminal penalties for his

 pastoral work as it could "cause" a transgender minor to begin medical treatments

 for their gender dysphoria.




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                                CLAIMS FOR RELIEF

                                      COUNTI
             .         Deprivation of Substantive Due Process
          Parent Plaintiffs Against Defendants in Their Official Capacities
   Violation of Parent Plaintiffs' Right to Direct the Upbringing of Their Children
                               U.S. Const.'Amend. XIV

        93.    Plaintiffs incorporate all preceding paragraphs ofthe Complaint as if

 set forth fully herein;

       · 94.   The Parent Plaintiffs bring this Count against all Defendants.

        95.    The Fourteenth Amendment to the United States Constitution protects

. the rights of parents to make decisions "concerning the care, custody, and control of .

. their children." Troxel v. Granville, 530 U.S. 57, 66; 120 S. Ct. 2054; 147 L.Ed.2d

 49 (2000). That fundamental right inch1des the1ibertyto make medical decisions for

 their mirior children, including the right to obtain medical treatments that are
                                    .                                .

 recognized to be safe, effective, and medically necessary to protect their children's

 health and well-being.

        96.    The Act violates· this fundamental right by preventing the Parent · ·
                                                          .                     .




 Plaintiffs from obtaining medically necessary care for their minor children.

        97.    By intruding upon parents' fundamental right to direct the upbringing

 of their children, the Act is subject to strict scrutiny. ·




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                                               .             -             .                                                                         .        .                                           .           .

         . 98; •· Defendants have no compelling justification for preventing parents . ·....

  from ensuring their children can receive essential medical· care. The Act does not

 . advance any legitimate interest, much less a·compellirig one.·.


                                                                               COUNTII
                                    Deprivation ·of Equal Protection
                   · All Plaintiffs Against Defendants in Their Official Capacities
                                       U.S. Const. Amend. XIV

       · · . 99.            Plaintiffs incorporate all preceding paragraphs of the Complaint as if

 · set forth fully herein.

          ·100; All Plaintiffs bring this Count against all Defendants.

           101. The Equal· Protection Clause of. the Fourteenth Amendment,·

  enforceable pursuant to 42 U:S.C. § 1983, provides that no state shall "deny to any

.. •person within itsjurisdiction the equal:prot~ction of the laws." U;S, Const. Amend.

  XIV,§      L
                                      .                                -   -   .       .          .                                .                              .                -       -   .              .   -

           102. The. Act singles ..out transgender minors and prohibits them from

  obtaining medically necessary treatnientbasedon their sex and transgender status .. ·
             . -    .·
                              .               - .      . .       . .   .           .   .·.   ... .-   ·.       .   .       .
                                                                                                                               .
                                                                                                                                        .·       .       .·       .   .
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           103. The Act also treats transgender minors differently and· less favorably

  than non-:transgender minors by allowing minors who are not transgender to obtain
                                  -                                                                        .                             .
                                                                                                                                                                          . .. .                   .
   .         .                                                                                                             .
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                                                                                                                                             .                                                     .



  the same medical treatments that are prohibited when medically necessary for

 · trarisgendet minors.
                    .             .       .                                .                                           .                                 -    .



           104. · Under the EquaLProtection Clause, government classifications based .
                                                                           .                               .                                             .                                                        .


  ·on sex are subject to heightened· scrutiny and are presumptively unconstitutional.

                                                                                             29
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                    . _.105. Transgender-based government dassifications are subject, at· a
                .                                                                                                                  .                                            .           .

  minimum, to heightened scrutiny because they are also sex-based classifications.

                     106. Because . ·transgender . people . have                                                                                          obvious,              immutable,      and ...

 distinguishing characteristics, including• having a gender identity that is different

  than their birth sex, they comprise a discrete group.This defining characteristic bears.
                                        .                  .            .                                      .                            .      .


  no relation to a .transgender person's ability                                                                                   to contribute to society. Nevertheless, ·
 fransgender
    .        . people have faced
                        -      . historical
                                      .     discrimination and have been unable to·                                        .           .                      .             .




  secure equality through the political pro~ess.
                                    .              .           .                 .                 .                   .
                     107. As such, transgenderclassifications are subject to strict scrutiny.·

                     · 108. The Act does nothing to protect the health or well.:.lJeing ofminors;To

 the contrary, the Actundermiries the health and well-being oftransgenderminors by

··. denying ihein essential' medical care.
                                                                    .                          .       .                       .
                     _109. The Act· is not narrowly. tailored to further a compelling government
- - .   .
            .               .
                                .           . ..
                                            .          .           ·.       .   . .·   -
                                                                                           -
                                                                                                           .   - .   . .                   . . . . ·.-.   .       - .   .           .   .

 interest arid is not substantially related to any important governmental interest.

 Moreover, . the Act is .. not even . rationally related to a . governmental · interest. . ·

 Accordingly, the Act· violates the Equal Protection Clause ·of the Fourteenth

 Amendment.

                                      COUNT III
                                      Preemption. ·
 Healthcare.Provider·Plaintiffs, ·Parent Plaintiffs,· and Transgen:der Plaintiffs Against ·
                      Defendants in Their Official Capacities
                                   42 u.s.c. § 18116 ..



                                                                                                               30
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                                              .                .                   .                                                        .                                   .           .

             110. · Plaintiffs incorporate all prece~ing paragraphs of the Complaint as if . •

 set· forth fully herein. ·

             111. Healthcare Provider.· Plaintiffs; .·Parent Plaintiffs,.· and Trarisgender· .

. Plaintiffs bring this Count against all Defendants.

             112. Under Section 1557 of the Affordable Care Act, "an individual shall

 not ; .. be<excludedfrom participaticm in, be denied the benefits of, or be subjected

. to discrimination under, any· health program or activity, any part of which is
     .                  ..           .                             .                            .           .                   .
                                                                                                                                    .                               .                                   ..
                    .   .                .        .                    .   .                .       .                   .                   .               .                       .               .

 receiving Federal financial assistance, including credits~ subsidies,. or contracts of

 insurance,• or under any program or activity that is administered .by an Executive

· Agency or any entity established under this title (or amendments)" on the basis of

· sex.42 U.S.C. § 18116.

             113. · The prohibition on sex discrimination in Section 15 57 of the Affordable .. ·

· Care Act protects transgender individuals from discrimination by healthcare
                                                                   .       .                                                .                   .   .




 providers, including physicians and hospitals ..

         . .114. ·. The Parent Plaintiffs . obtain medical care for their children, the .
                                                      .       ..                           ..                   .                                                           .                           .


 Transgender Plaintiffs, from providers who are :recipients of federal· financial
         -      .            .   .       ..               .        .           .       .                .           .               .   .               .       .       .               .       .                .


 assistance and therefore subject to the non-discrimination requirements ofSection

· 1557 of the Affordable Care Act

             115. The Act subjects the Transgender Plaintiffs and the Parent Plaintiffs to
                                                                                                                                                .                                                            .
. unlawful sex discrimination · by preventing -Plaintiff Parents • froni obtaining .



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                                           .               .                                      .                                                          .               .                   .                      .                                                                           .                                                            .               .               .           .

.. medically necessary: care for their children, the Transgender Plaintiffs, because of ·

 . the. children's trans gender status· and by. requiring. their. healthcare .providers to.
                                                                                                                                                                 .                        .                                                                                                                                                         .                    .           .

. . ..discriminate against the children because. they ·are· transgender. ·As· such, .the Act·
             .                                                               .                    .                   .                                                                                                                                                                                       .                                                                  .               .

         conflicts with the non-discrimination requirements of Section 1557. It also conflicts

         with and undermines the purposes and goals of Section 1557.
                            .
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                                                                                                                                                                                                                            .         .                                               .     .           .           .
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                                116. • In addition, as providers fot transgender beneficiaries of Alabama

         Medicaid, the· Healthcare Provider Plaintiffs are recipients of federal. financial
                                   .                   .           .                          .                   .       .   .        .
                                                                                                                                           . .                           .               . . .        . .                       . .               . .            .               . .      . .                . .            .                   .       .    ..                                                  .
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                                                                                                                                                                                                                                                                     ..                                                             .                        .                   .               .


         assistance and therefore subject to the non-discrimination requirements of Section

· · 1557 of the Affordable Care Act.

                            :117; It is impossible for the Healthcare Provider Plaintiffs to .continue to
                                                                                                                                           .                         .
                                                                                                                                                                                 .                              .                                            .       .                                                          .


     · comply . with their obligations under Section 1557 and also ~omply with the .
                                                                                                                                           ·.                                .                              .           .                                                                                                                   .               ·.                                           .

         restrictions imposed by the Act. On the oni hand; refusing to comply with the Act

         would brin~ them into compliance with Section.1557; but subject them to criminal
                     ..                            .               ..            .        .               .                       ..
                                                                                                                                                    .
                                                                                                                                                         .                                            ..                    .         .             ..                       .                          ..                  .                           .
                                  .... ·                       .                     .·                                           .                 .·                           .. ·                       .           .        .                 ·.        .                                      .              ·.           .                            .       .·                      .. ·                .

         penalties under the Act. On the other hand, complying with the Act would subject ·
                                       .                                                                          .                        .    .                    .·.                                    .·.                           .                          .                              .                               .           .                            .               .


     · the Healthcare Plaintiffs to civil liability for :discrimination under Section 15 57. : .· :
                                           .                                                                                                                                                                        .                                                '                          .


                                118. The Act stands as· an obstacle to the accomplishment. and execution of                                .                                                                .


..   '   .       .        . . .    . .                 .                                              '           .                    :                                         .               ..                             . .               .. .   .       .       .        .        ..                      . . .                                             .                   .           .



         the full purposes and objectives of Corigress,.including the objective ofpreventing·

         discrilllination in the provision of healthcare based on sex.




                                                                                                                                                                                          32
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              119. The Healthcare Provider Plaintiffs, Parent Plaintiffs, and Transgender

    Plaintiffs have no adequate remedy at -law to redress the wrongs alleged herein, ·

    -which are of a continuing nature and will caiisethem irreparable harm .. -

             120. -Accordingly, · the •.Healthcare -Provider Plaintiffs are entitled to

    declaratory -and injunctive relief
                                                       .           .           .               . ..
                                             - COUNTiV -
                     _ _       .      - Deprivation of Free Speech          _ .
                  -_ All Plaintiffs Against Defendants in_Their Official Capacities
                           - -       - -U.S. Const. Amend. l       -           .

              12L . Plaintiffs .incorporate all preceding paragraphs of the Complaint as if.

    set forth fully herein.
                     .                                                                                    -                            .
             ._122 .. All Plaintiffs bring this Count against allDefendants ..
                               .               -               .       .                                                                               .                   .                                -

              123. The Free Speech Clause of the First Amendment, enforceable pursuant

    to 42 U.S.C. § 1983, provides that "Congress shall make no law ... abridging the ·

    -freedom ofspeech."
              .                                .                                                                                           .                   -                           .


              124. The First Amendment is applicable to the State of AlabamRunder the . ·                                                                  .           .               .




    · Fourteenth Amendment to the United States Constitution.
                                                           -                                                      .
              125. The Act creates an unlawfulrestriction on speech. By imposing
                                                                                       .                          .-           .                                       .                           .-

    criminal penalties on anyone who "cause[ s]" any of the proscribed treatments to be
.                                      .                                           .                  .                .           .               .                           .                        .       .

    -performed on a minor, Defendants are punishing the Healthcare Provider Plaintiffs,
         .                         .
                                           .       .                       .               .                  .
                                                                                                                           .                   .
                                                                                                                                                                   .               .           .                    .
    -the Parent Plaintiffs, and Reverend Eknes~Tuck_er forany speech that can be pointed

    ·to as resulting in a minor receivfog any of the-proscribed-treatments- e.g., referrals,

                                                                   33
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  -                                                  .                                                                                                                      .                                       .           .

.. · counseling, or discussions relating to weH-estabHshed care recognized in the medical

. community as appropriate, safe treatment for gender dysphoria in · transgender ·

 minors.·

          126. ·. There is no .constitutionally sufficient justification . for· the Act's

 .restriction of speech. The Act is not rationally related to· the furtherance of any

: legitimate government interest, let alone.narrowly tailored to substantially advance·

. any compelling or important government interest..

                                               COUNTY
                                · Deprivation of Procedural Due Process.·
                      All Plaintiffs Against Defendants iriTheirOfficial Capacities .. ·.
                                           Void for Vagueness .
                                      U.S.Const. Amend. VandXIV •
          127: · Plaintiffs incorporate all preceding paragraphs of the Compla.irit as if ·

 setforth fully herein.

          128. · All Plaintiffs bringthis Count against all Defendants.·
                                    .       .                      .           .                                       .             .       .            .                     ..        -                                         .       .

          129. Under the Due Process Clause, a crirtiinal statue is Void for vagueness

 if it either: (1)
                .
                   fails ''to provide the kind of notice that will enable ordinary people to·
                                                                       .                                                             .   .       ..       -                                   .         .               .

      .      - . -.    .       ._       .· . .           - .   .       ... .       -         ·.   .   .                    ·..           .
                                                                                                                                             . .·                     . .           . .           .   . . .                                     .
                  .                                                     .  .
                                                                                         .                .
                                                                                                              .


 .understand what conduct it prohibits" or (2) authorizes or encourages ~'arbitrary and
      -         .                                                                                         -.      '
                                                                                                                                 .                    .
                                                                                                                                                                                .
                                                                                                                                                                                     .                      .               -           .

 discriminatory enforceinent.''.CityofChicago v. Morales, 527U;S. 41,·56{1999):
                                                                                                                                                              .                                                     .
                           .            .        .                                     - .                        ..                                              .                       -                     .


           130. Section4(a) of the Act states, in relevant part, that "no person shall ... ·

 cause any of the following practices to.be performed upon a minor ...."




                                                                                             34· ·
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       . 131. As written, the Act does not provide sufficient definiteness to ordinary

  people, including Plaintiffs, .of what actions constitute "caus[in:g]" . any of the
   .              .

  proscribed activities upon a minor.

         132; The lack of definiteness m the Act encourages arbitrary and

· . discriminatory enforcement against anyone ·who· is aware of, refers to, discusses,

  talks about; recoirurie.nds; or gives . an opinion on a transgender person's
                                                                           ..
                                                                               healthcare.
                                                                                 .                            .




                                RELIEF REQUESTED·

       . WHEREFORE, Plaintiffs request that this Court:

       · · (1) •issue ajudgment, pursuant to 28 U$.C. §§ 2201-2202;declaring that the

            . Act violates federal law for the reasons and on the Counts set forth above;·

        (2) temporarily, preliminarily, and permanently enjoin Defendants and their
                                                       .    .   .   -       .   .               .       . -       -

             officers, employees, servants, agents, appointees, or successors from

              enforcing the Act;

        (3) declare that the Act violates.the First, Fifth, and Fourteenth Amendments

             to the United States. Constitution; .
                            .      .                                .               .                                      .
                                   .                       --       .   .           -               .                 --

        (4) award Plaintiffs their costs and attorneys; fees pursuant to 42 U.S.C. §.

              1988 and other applicable laws; and
                        .                  -   .   .        .                           .   -


        (5) grant such other relief as the Court finds ju~t and proper.•

        Respectfully submitted this 19th day of April, 2022 .




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                                                     .                        .




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